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                                                                                    United States District Court
                                                                                      Southern District of Texas
                        IN THE UNITED STATES DISTRICT COURT                              ENTERED
                        FOR THE SOUTHERN DISTRICT OF TEXAS                           September 13, 2018
                                  HOUSTON DIVISION                                    David J. Bradley, Clerk



UNITED STATES OF AMERICA                      §
                                              §
v.                                            §            CRIMINAL NO. H- 17-431-01
                                              §
                                              §
STEPHEN P. LYNCH,                             §

                                  NOTICE TO DEFENDANT

If you have not completely waived your right to appeal in your plea agreement, you have a
right to appeal your conviction and the sentence imposed under certain circumstances. 18
U.S.C. § 3742(a).

A notice of appeal must be filed with the district clerk within fourteen (14) days after the entry
of the judgment of conviction or other order from which you want to appeal. If you seek to
file the appeal without an attorney, you must sign the notice personally. The form of the
notice of appeal is Form 1 in the Court of Appeals’ Appendix of Forms.

If you want, the district clerk will prepare and file the notice of appeal for you, but you must
make the request during the fourteen (14) day period after entry of the judgment of
conviction.

A notice of appeal must state the judgment or order being appealed and that you are
appealing to the Court of Appeals for the Fifth Circuit.

You also will have to identify the documents, exhibits, transcripts and anything else in the
criminal case that are not already on file that you believe need to be included in the record
by the court reporter. This identification must be made within fourteen (14) days after filing
the notice of appeal.

If you are represented by paid counsel, but cannot pay the cost of appeal, you can ask the
court for permission to appeal in forma pauperis (without paying costs) (“IFP”). Your
application to appeal IFP must be filed with the district clerk within the fourteen (14) day
period after filing the notice of appeal. If you proceeded in the district court IFP and the court
appointed an attorney for you, you may proceed on appeal IFP without further authorization
unless the court certifies in writing that you are not entitled to do so.

       SIGNED at Houston, Texas, this 12th day of September, 2018.




                                                            NANCY F. ATLAS
                                                     UNITED STATES DISTRICT JUDGE
                                                          NAN Y F. ATLAS
                                                SENIOR UNI    STATES DISTRICT JUDGE
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